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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 MCALLEN DIVISION


 FEDERICO FLORES, JR., et al.,                   §
                                                 §
 Plaintiffs,                                     §
                                                 §     Civil Case No. 7:18-cv-00113
 v.                                              §
                                                 §
 RUTH R. HUGHS, IN HER OFFICIAL                  §
 CAPACITY AS TEXAS SECRETARY                     §
 OF STATE, et al.,                               §
                                                 §
 Defendants.


                 PLAINTIFFS’ ADVISORY AND PROPOSED ORDER(S)

       The Court has already recognized that Texas’s current signature-review process violates

constitutional requirements, and is it clear that the Secretary of State will not and cannot attempt

to remedy this violation without the mandate of a court order. Consequently, Plaintiffs request

the Court—at a minimum—enter a declaratory judgment against the Secretary holding that the

current process violates procedural due process, which will enable the Secretary to devise and

implement a remedial plan. To be sure, Plaintiffs further request and suggest a form injunction

by which the Court may enter the remedial plan itself.         But at a minimum, a declaratory

judgment should be entered without delay, as there is still plenty of time for the Secretary to

devise and implement a remedial plan before Texas’s upcoming elections.

                                           Introduction

       At the dispositive motions hearing held October 16, 2019, this Court recognized the

weight of federal caselaw holding that mail-ballot signature-matching regimes like Texas’s—

lacking an adequate notification and cure procedure that would allow the voter to ensure his or



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her ballot is counted in the election—violate due process. 1 The Court also recognized the gravity

of the underlying right at risk of deprivation by these inadequate procedures: the right to vote. 2

While the Secretary argued that the ability of the “county election officer” to seek an injunction

at his or her discretion under current Election Code § 87.127(a) offered an adequate procedural

protection for the voter, the Court rejected that argument. The Court recognized—as Plaintiffs

had pointed out—that the ability of the “county election officer” (not the voter) to potentially (in

his or her discretion) petition a court for the extraordinary remedy of an injunction was an

“inadequate” protection, Hearing Trans. (Oct. 16, 2019) at 8:24, both because there is no

guarantee of timely notice under Texas’s statutory regime, id., and even if there were, the

suggested remedy is not available to the individual voter, id. at 4:10-25 (“The State statute

doesn’t provide any personal remedy to you other than maybe somebody might make the

Complaint…. [T]here’s nothing left to the individual voter.”). Plaintiffs already explained

numerous reasons why the Secretary’s proposed procedure is insufficient, including those cited

by the Court. See Plfs’ Reply (Doc. 77) at 6-7.

          Rather than issue an order at that hearing, the Court extended an opportunity to the

Secretary of State to further digest the caselaw, strongly suggesting that the Secretary should

explore the possibility of reaching a settlement with the Plaintiffs “to try to fix this for the future

and everybody else, including [the Plaintiffs].” 3 The Court set a status conference for December

12, which was then canceled (on December 9) and re-set for March 25, 2020.

           In anticipation of the December motions hearing, counsel for Plaintiffs and the Secretary

conferred. The Secretary’s counsel advised that the Secretary would not agree to recommend or

1
    E.g., Hearing Trans. (Doc. 80) at 4-5, 8.
2
    Hearing Trans. at 6:21-22.
3
    Hearing Trans. at 26:5-9.

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to implement a cure procedure. Instead, and despite the Court’s admonishment at the October

hearing, the Secretary maintained her position that § 87.127(a) was sufficient. The Secretary’s

Advisory, filed Monday (3/23/2020), reflects that the Secretary’s position has still not changed in

the three-and-a-half months since counsel’s December conference, and five months after the

October hearing.

       As the Court already indicated in October, the injunction provision in § 87.127(a) is

wholly unsatisfactory. Even immediate notice to an affected voter is meaningless in the absence

of a constitutionally adequate procedure allowing the voter to validate the ballot. This case is

ripe for decision, and there is still plenty of time for the Secretary to issue appropriate guidance

or otherwise implement a constitutionally adequate cure process in advance of Texas’s upcoming

runoff elections and going forward. But it is clear that the Secretary will require the Court’s

intervention because she will not, and cannot, remedy the violation without at least a court order

declaring the current regime unconstitutional. Plaintiffs respectfully request that the Court enter

judgment, against the Secretary at a minimum.

       Plaintiffs here attach precise proposed orders tailored to Texas law, as the Secretary

requests in her Advisory of this week. Therefore there is no need to further delay judgment and

a remedy as Texas’s next round of elections approach. The Defendants are free to respond to

Plaitniffs’ proposed order(s), but Plaintiffs request that Defendants be ordered to respond no later

than two weeks from today.

I.     Plaintiffs’ Proposed Orders for a Declaratory Judgment (at a Minimum) and
       Remedial Injunction

       The Court has been generous in affording the Defendants every opportunity to make their

case; indeed, the parties have briefed the merits twice already. Despite two full rounds of

briefing, Defendants have not identified a single case upholding a signature-match regime like


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Texas’s against a due process challenge. The Court all but warned the Secretary that it may enter

a declaratory judgment declaring the current statutory scheme unconstitutional and

unenforceable. Hearing Trans. (Doc. 80) at 24, 25.

        Another five months have passed since the Court admonished the Secretary’s office to

work to correct the constitutional infirmity, but the Secretary will not do so without the mandate

of a court order. Accordingly, Plaintiffs request that the Court enter summary judgment, at a

minimum against the Secretary, declaring the rejection of any mail-in ballot for perceived

signature mismatch unconstitutional, unless and until a sufficient cure procedure is implemented

by the State. See Saucedo v. Gardner, 335 F. Supp. 3d 202 (D. N.H. 2018) (granting declaratory

relief that signature match requirement was violative of voters’ due process rights and enjoining

its enforcement). The Court could choose to stop there and leave it up to the Secretary to confer

with relevant state officials and promulgate guidance as to a cure procedure that comports with

the Constitution.

        While issuance of such a declaratory judgment would prevent further constitutional

violations until the State implements a sufficient cure procedure, Plaintiffs further request that

the Court go ahead and enter its own remedial order, just as many other federal courts have done.

        Several recent challenges to Texas Election Code requirements provide precedent, and a

ready roadmap, for precisely the type of relief Plaintiffs seek here against the Secretary.

   •    In OCA-Greater Houston v. Texas, the district court first declared Election Code 61.033
        unenforceable, and then enjoined Defendants (the State of Texas and Rolando Pablos, as
        Secretary of State) “from enforcing Texas Election Code § 64.0321 or … § 61.033,” and
        “further [enjoined] Defendants to implement a remedial plan consistent with” specified
        terms. 1:15-cv-00679-RP (W.D. Tex. May 15, 2018) (Order) (Plfs’ Exhibit 9). The
        remedial terms included two simple components, requiring defendants to (1) “revise
        training and instructional materials for state and county election officials” and (2)
        “distribute notice to all county elections departments clarifying that they are not to
        enforce” the invalid statutes, and “explicitly explaining” how local officials were to
        handle individuals presenting to vote with an interpreter, in a manner that satisfied the

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         legal rights of voters in light of the declaration that the Texas statutes were
         unenforceable. Id. at 8.

    •    Likewise, in Veasey v. Abbott, District Judge Nelva Gonzalez Ramos of the Southern
         District of Texas recognized that the various state defendants, including the Secretary,
         had the ability to directly exercise control over and compliance of local officials with its
         order. Plfs’ Exhibit 10 (Order Regarding Agreed Interim Plan for Elections, entered in
         No. 2:13-cv-00193 (Aug. 10, 2016). Among other things, the Secretary, Governor, and
         TXDOT Director were tasked with ensuring local election officials complied with the
         court’s interim order in utilizing specific documents regarding voter impediments,
         making oral translations, accepting specific identification documents, and training local
         officials. Id. at 1-4. The court recognized the extensive control the Secretary had over
         local election officials, going so far as requiring him and the other defendants to even
         curtail activity of poll watchers. Id. at 3 (requiring the defendants to ensure that poll
         watchers did not “communicate in any manner with any voter concerning the procedures
         outlined in this Order, presentation of identification, or the validity of a voter’s
         impediment to obtain identification.”)

         In both cases, just as here, local election officials were responsible for applying the

requirements of state law as polling or other election responsibilities were conducted, yet the

courts recognized the Secretary was an appropriate party as the “Chief Election Officer” of

Texas, and required him to exercise his authority over local officials to implement the Court’s

order. 4 Therefore, the Secretary’s protestations here, that she has no control over the application

of the challenged statutes by local ballot boards, has rightly been rejected by this Court at the

October 16 hearing, and there is no impediment to entry of exactly the kind of order entered in

OCA-Greater Houston and Veasey.




4
  In his response to the Veasey court’s order, the Secretary and other state defendants submitted a plan
detailing exactly how the Secretary would exercise his duties as chief election officer and ensure
compliance of local election officials. In their plan, the Secretary stated, “as the State’s chief election
officer,” the Secretary “is committed to providing effective education to election officials on how to
implement the interim remedy order.” Plfs’ Exhibit 11 at 7. “Indeed”-according to the Secretary
himself—“the Secretary of State is required by statute to adopt standards of training in election law and
procedure for election judges, to develop materials for a standardized curriculum for training election
judges, and to distribute those materials as necessary.” Id (citing Tex. Elec. Code § 32.111(a)-(c)). Just as
the Veasey court, the Secretary recognized that he had a duty inform, train, issue guidance and forms to,
and ensure compliance of local election officials with the court’s order. Id. at 12-15.

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       Furthermore, Texas already has a process for the validation of provisional ballots,

allowing voters to present necessary documents or information to local officials within six days

after election day. See, esp., Tex. Elec. Code §§ 63.011, .051, .054. Just as other courts have

held, this extant process for provisional ballot validation can easily be extended to afford

signature-mismatch voters the opportunity to validate their ballots within the same time frame.

See e.g. Martin v. Kemp, 341 F. Supp. 3d 1326 (N.D. Ga. 2018), appeal dismissed sub nom.

Martin v. Sec'y of State of Georgia, 18-14503-GG, 2018 WL 7139247 (11th Cir. Dec. 11, 2018);

Saucedo v. Gardner, 335 F. Supp. 3d 202 (D.N.H. 2018); Zessar v. Helander, 05-C-1917, 2006

WL 642646 (N.D. Ill. Mar. 13, 2006).

       Plaintiffs have attached a proposed order that incorporates both a declaratory judgment,

and a remedial injunction ordering the implementation of a simple cure procedure.

       As to the cure procedure, the proposed order incorporates a simple mail-in declaration

signed by the voter and combined with a copy of his or her identification, in any of the voter ID

forms permitted under Section 63.0101 of the Election Code. Plaintiffs’ proposed order and cure

affidavit have been tailored specifically to Texas law, and mimic the same procedure and

deadlines already used to validate provisional ballots. In substance, this is the same process

imposed by the federal district court in Florida Democratic Party v. Detzner, 2016 WL 6090943,

at *10 (N.D. Fla. Oct. 16, 2016) (see the mail-in affidavit attached as Appx. II to the opinion,

which is on file in this case as Plfs’ Exhibit 13).

       The proposed cure declaration would allow the voter to validate his or her ballot by

returning the declaration affirming that he or she did in fact submit the mail ballot, along with a

copy of the voter’s identification in a form that satisfies the Election Code’s extant ID

requirements under Section 63.0101. The proposed order works as follows:



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     Current law requires the “presiding judge of the [EVBB]” to deliver written notice of the

        reason for the rejection of a ballot “to the voter at the residence address on the ballot

        application,” and additionally to the email address to which the voter’s ballot was sent, if

        the ballot was sent to the voter by email (as for military and overseas voters). Tex. Elec.

        Code § 87.0431(a). For any mail ballots slated for rejection based on a perceived

        signature mismatch, the proposed order would require the presiding judge of the EVBB

        to deliver the Notice of Rejected Ballot by placing it in the mail to the voter’s address no

        later than the day after the ballot was reviewed by the EVBB, along with the proposed

        cure declaration attached to this advisory as Exhibit B. Further, for any voters who

        provided a telephone number or email address on the voter registration document or

        application for ballot by mail, 5 the presiding judge or the Early Voting Clerk would be

        required to provide additional notice of rejected ballot by phone and email (as provided

        by the voter) to the voter no later than the day after the ballot was reviewed by the

        EVBB. Any such notice email shall either attach a copy of the cure declaration or

        include a link to the cure declaration, and shall also notify the voter that the cure

        declaration is available for pickup by the voter or his or her designee at the office of the

        Early Voting Clerk. Any such notice phone call or voicemail shall inform the voter that

        the cure declaration is being sent to his or her address, and that the cure declaration is

        also available for pickup by the voter or his or her designee at the office of the Early

        Voting Clerk. 6


5
 The Secretary’s voter registration and application forms both already request this information. See Plfs’
Exhibit 3 (Maria Guerrero application for mail ballot) (optional information Box 9: “Please list phone
number and/or email address: *Used in case our office has questions”).
6
  In the alternative, the Secretary could be ordered to devise appropriate notice and cure procedures, just
as the Secretary is required to devise the implementation details of other Election Code requirements,
including, for example, provisions for “Notice to Provisional Voter[s].” See Tex. Elec. Code § 65.059.

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     The voter would then be required to return the completed cure declaration to the Early

        Voting Clerk on or before the sixth day after election day. This is the same time period

        during which provisional voters are already allowed to provide backup documentation to

        local election officials to validate their provisional ballot.         See Tex. Elec. Code §

        65.0541.

     Current law already requires that “the early voting ballot board shall verify and count

        provisional ballots … not later than the ninth day after the date of an election” or, with

        respect to “an election held on the date of the general election for state and county

        officers,” “not later than the 13th day after the date of the election.” Tex. Elec. Code

        65.051(a), (a-1). Accordingly, the proposed order would require the early voting ballot

        board to review any submitted cure declarations on or before the ninth or thirteenth day,

        as appropriate, and if the declaration is properly completed, to accept the voter’s mail

        ballot.

        There remains plenty of time to implement an order in time for the July 2020 runoff

elections, especially given that Plaintiffs’ proposed cure tracks exactly the schedule already laid

out for review and acceptance of provisional ballots, thus requiring no modification to any

election schedule whatsoever.

        Lastly, Plaintiffs maintain that judgment should be entered against the EVBB Defendants

(in their official capacities) as well as the Secretary. See Plfs’ Reply to Ballot Bd. Defs’ Resp. to

Plfs’ Amd. Mtn. for Summ. Judg. (Doc. 76) at 2-5. However, even if the Court disagrees with




Whether the Court simply enters a declaratory judgment and orders the Secretary to devise the
implementation details, or enters its own detailed remedial order, the current process has already been
recognized as unconstitutional and it must be cured before additional elections are held in Texas and mail
ballot voters are disenfranchised.

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Plaintiffs on this point and dismisses their claims against the EVBB members, it can and should

enter its declaratory judgment, and injunction order, against the Secretary.

II.    The San Antonio Litigation Does Not Provide Cause For Deferring Proceedings
       Here.

       The instant lawsuit was filed April 11, 2018, and removed to this federal district on April

16, 2018. Plaintiffs hired a forensic document examiner and handwriting expert, Dr. Linton

Mohammed, who supplied his written report (Plfs’ Exhibit 7) and testified by deposition in

Austin in November 2018. After the present voter-Plaintiffs were added, the Court extended the

discovery period to permit Defendants to take the Plaintiffs’ depositions. Federico Flores sat for

his deposition in May 2019. See Plfs’ Exhibit 2. Mr. and Mrs. Guerrero sat for their depositions

in July 2019, see Plfs’ Exhibits 3 & 4, after a re-scheduling occasioned due to a medical issue.

The parties all then renewed their dispositive motions on July 29, 2019, and filed responses and

replies, for a total of ten substantive documents. In short, this case is fully briefed and is ripe for

decision.

       The later-filed lawsuit pending in San Antonio federal court provides no occasion for

abstention in this matter, nor has any party attempted to make such a case.              Plaintiffs in

Richardson v. Secretary of State, 5:19-cv-00963 (W.D. Tex.), filed suit on August 7, 2019. This

was sixteen months after our matter was filed. In fact, Richardson was initiated after the second

round of dispositive motions were filed here (in July 2019).        The parties are still conducting

discovery, and dispositive motions are not due until June 22, 2020. There are no pending

motions in Richardson. Even if there were pending motions for preliminary or other relief,

abstention would be inappropriate under clearly established precedent.

                                               Respectfully submitted,

                                               __/s/ Jerad Najvar_________
                                               Jerad Wayne Najvar

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                                      Certificate of Service


        The undersigned counsel hereby certifies that on March 25, 2020, the foregoing
document, along with any exhibits and proposed order, was served on the following counsel of
record in this matter by means of the court’s CM/ECF system:

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